                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION



JOSHUA JARRETT, JESSICA JARRETT

                       Plaintiffs,
                                                           Case No. 3:21-cv-00419
               v.

UNITED STATES OF AMERICA,                                  PLAINTIFFS’ MOTION TO CONTINUE
                                                           INITIAL CASE MANAGEMENT
                       Defendant.                          CONFERENCE




      MOTION TO CONTINUE INITIAL CASE MANAGEMENT CONFERENCE

       Plaintiffs Joshua Jarrett and Jessica Jarrett move for a continuance of the initial case

management conference scheduled before Magistrate Judge Newbern on July 28, 2021, at 10:30

AM. Defendant, United States of America, has not yet appeared in this matter. Plaintiffs thus

cannot timely prepare the joint proposed case management conference order, and, accordingly,

respectfully request that the conference be rescheduled.

       Plaintiffs move to continue the initial case management conference to the week of August

9, 2021, to allow the United States sufficient time to appear. If all participants are available,

counsel respectfully requests a conference on August 10, 2021. Counsel are also available

August 11 through August 13, 2021.




     Case 3:21-cv-00419 Document 20 Filed 07/21/21 Page 1 of 2 PageID #: 50
                                    Respectfully submitted,

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                                    DATED:         July 21, 2021


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                                2
Case 3:21-cv-00419 Document 20 Filed 07/21/21 Page 2 of 2 PageID #: 51
